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 6
                                                            The Honorable Ricardo S. Martinez
 7
                       IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 9

10   WASHINGTON STATE ASSOCIATION OF HEAD
     START AND EARLY CHILDHOOD ASSISTANCE AND
11
     EDUCATION PROGRAM, ILLINOIS HEAD START
12   ASSOCIATION, PENNSYLVANIA HEAD START
     ASSOCIATION, WISCONSIN HEAD START                        Case No. 2:25-cv-00781-RSM
13   ASSOCIATION, FAMILY FORWARD OREGON, and
14   PARENT VOICES OAKLAND,
                                                              [PROPOSED] ORDER
15                                                            GRANTING PLAINTIFFS’
                                       Plaintiffs,            MOTION FOR LEAVE TO
16
                                                              FILE DECLARATIONS IN
17                                                            PSEUDONYM
     v.                                                       NOTE ON MOTION
18
                                                              CALENDAR:
19
     ROBERT F. KENNEDY, JR., in his official capacity as        JUNE 13, 2025
20   Secretary of Health and Human Services; U.S.
21   DEPARTMENT OF HEALTH AND HUMAN SERVICES;
     ANDREW GRADISON, in his official capacity as Acting
22   Assistant Secretary of the Administration for Children and
     Families; ADMINISTRATION FOR CHILDREN AND
23
     FAMILIES; OFFICE OF HEAD START; and TALA
24   HOOBAN, in her official capacity as Acting Director of
     the Office of Head Start,
25

26
                                       Defendants.
27

     [PROPOSED] ORDER GRANTING MOTION - 1                A.C.L.U. OF WASHINGTON
     FILE DECLARATIONS IN PSEUDONYM                      PO BOX 2728 SEATTLE, WA98111-2728
     2:25-CV-00781-RSM                                   (206) 624-2184
           Case 2:25-cv-00781-RSM           Document 35-1        Filed 05/16/25     Page 2 of 3




 1      This matter came before the Court on Plaintiffs’ Motion for Leave to File Declarations in

 2   Pseudonyms. For good cause shown, the Motion is GRANTED. The Court will fully consider

 3   the declarations of Jane Doe and Member A and Member B of Family Forward Oregon who

 4   submitted declarations in support of Plaintiffs’ Motion for Preliminary Injunction.

 5

 6
     IT IS SO ORDERED.
 7

 8
                                   Dated this ____day of May 2025
 9

10

11                                 _______________________________

12                                 Judge Ricardo S. Martinez

13
     Presented by:
14

15

16    By:      /s/ La Rond Baker                   Kevin M. Fee (pro hac vice)
      La Rond Baker (WSBA No. 43610)               Allison Siebeneck (pro hac vice)
17
      Brent Low (WSBA No. 61795)                   ROGER BALDWIN FOUNDATION OF
18    David Montes (WSBA No. 45205)                    ACLU, INC.
      AMERICAN CIVIL LIBERTIES                     150 N. Michigan Ave, Suite 600
19       UNION OF WASHINGTON                       Chicago, IL 60601
      P.O. BOX 2728                                Tel: (312) 201-9740
20    Seattle, Washington 98111-2728               kfee@aclu-il.org
21    Tel: (206) 624-2184
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22                                                 Lori Rifkin (pro hac vice)
      Ming-Qi Chu (pro hac vice)                   Fawn Rajbhandari-Korr (pro hac vice)
23    Jennesa Calvo-Friedman (pro hac vice)        Meredith Dixon (pro hac vice)
      Linda S. Morris* (pro hac vice)              Megan Flynn (pro hac vice)
24
      *admitted in State of Maryland               IMPACT FUND
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      Sania Chandrani (pro hac vice)               Berkeley, CA 94704
26    AMERICAN CIVIL LIBERTIES                     Tel: (510) 845-3473
        UNION FOUNDATION                           lrifkin@impactfund.org
27


     [PROPOSED] ORDER GRANTING MOTION - 2                        A.C.L.U. OF WASHINGTON
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          Case 2:25-cv-00781-RSM          Document 35-1    Filed 05/16/25     Page 3 of 3




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     [PROPOSED] ORDER GRANTING MOTION - 3                   A.C.L.U. OF WASHINGTON
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